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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

THE UNITED STATES OF AMERICA

                       v.                         1:22-mj-00232

 BRIAN SIZER


           MOTION FOR ADMISSION PRO HAC VICE OF JOSEPH S. OTTE

       I, Robert Mielnicki, an active member of the Bar of the United States District Court for the

District of Columbia, move for the admission of Joseph S. Otte pro hac vice who will be counsel

for the defendant, Brian Sizer.

       I have confirmed that Joseph S. Otte is a member in good standing of the Supreme Court

of Pennsylvania, where his practice is located. I am aware of LCvR 83.2, governing attorney

admissions pro hac vice.

       I respectfully move for the admission of Joseph S. Otte pro hac vice.

                                                            Respectfully submitted,
                                                            /s/Robert Mielnicki
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